             Case 2:10-cr-00261-LDG-LRL              Document 35         Filed 10/15/10       Page 1 of 2



 1                     UNITED STATES DISTRICT COURT
 2                          DISTRICT OF NEVADA
 3                                 -oOo-
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 7   UNITED STATES OF AMERICA,                             ) Case No.: Case No.: 2:10-CR-261-LDG-LRL
                                                           )
 8                     PLAINTIFF,                          ) FINDINGS OF FACT, CONCLUSIONS OF
                                                           ) LAW, AND ORDER
 9            vs.                                          )
                                                           )
10   SCOTT BRADY,                                          )
                                                           )
11                     DEFENDANT.                          )
                                                           )
12
                                                 FINDINGS OF FACT
13
             Based on the pending Stipulation of counsel, and good cause appearing therefore, the Court finds
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     that:
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             1. That counsel for the Defendant has received a verbal plea offer from the government that is
16
                 within the parameters of what Mr. Brady said he previously would accept. Counsel has sent
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                 Mr. Brady a letter outlining the terms.
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             2. That counsel for the Defendant has been unable to relay that offer to him in person due to
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                 difficulties scheduling a visit with the new facility in Pahrump, Nevada.
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             3. The defendant in custody and does not object to this continuance.
             4. The parties agree to this continuance.
22

23           5. Denial of this request would deny counsel for defense sufficient time within which to be able to

24               effectively and thoroughly research, prepare and submit for filing appropriate pretrial motions

25               and notices of defense, taking into account the exercise of due diligence.

26           6. The additional time requested by this Stipulation is excludable in computing the time within

27               which the trial must commence pursuant to the Speedy Trial Act, Title 18, United States Code

28               Sections 3161 (h)(1)(F)3161(h)(7) and Title 18, United States Code, Section 3161(h)(8)(B)(iv).

             7. This is the third request to continue filed herein.


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          Case 2:10-cr-00261-LDG-LRL               Document 35           Filed 10/15/10     Page 2 of 2



 1         For all of the above-stated reasons, the ends of justice would best be served by a continuance of the
 2
           motion and trial dates.
 3
                                            CONCLUSIONS OF LAW
 4
             Denial of this request would deny counsel for defense sufficient time within which to be able to
 5
     effectively and thoroughly research, prepare and submit for filing appropriate pretrial motions and notices
 6
     of defense, taking into account the exercise of due diligence.
 7

 8         The additional time requested by this Stipulation is excludable in computing the time within which

 9   the trial must commence pursuant to the Speedy Trial Act, Title 18, United States Code Sections 3161

10   (h)(1)(F)3161(h)(7) and Title 18, United States Code, Section 3161(h)(8)(B)(iv).

11                                                    ORDER

12

13         IT IS FURTHER ORDERD that the calendar call currently scheduled for October 12, 2010 at

14   8:30AM be vacated and the trial currently scheduled for October 18, 2010, at the hour of 9:00A.M., be
                                           Monday, 11/15/10
     vacated and set for a status check on ________________________                   10 00a
                                                                    at the hour of ______:___m.
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16         DATED ___________ day of October, 2010.

17                                                                    ___________________________________
                                                                      UNITED STATES DISTRICT JUDGE
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